-: Case 2:10-cv-02363-STA-Cgc `Document 1-1 Filed 05/14/10 Page 1 of 65 Page|D 7

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SHELBY COUNTY COURTHOUSE
J_lMMY Moo'RE
cLERK 01= THE cmcmr comm
sHEL'BY coUNTY

MEMPI~IIS, TN 38103-2699

This is to certijj) that these Sz'x{V-One pages are a true and complete copy of:

Who/e Enf/'r'e F/"/e

Anfhony 5/70¢4/, individually and as nexT kin of
Je.s'sr°e M 5now, Deceasea£

V$ €T -002067 -10

77'!110¢/1,\/ L. Kemp, M.D., THM$ Wes'f 77VM6', LLC;
find Bap f/'sf Memorvkr/ Hosp/'fa/* 6'0///'er'w'//e

Witness my hand and seal of Court on this 14th Day of May, 2010
\
CI `IT C IJRT CLE'RK

L..¢._{&

DEPUTY COURT CLERK

 

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IN THE cIRcUIT coURT oF TENNESSEE FOR THE minnan ‘ '
JUDIcIAL DLSTRICT AT mePHIs, sHELBY coUNTY '

  

 

` ANTHONY SNOW, Individually and as

Next of_Kl`n of JESS[E M. SNOW, Deceased, l AW/Lf ‘
/\p'/ G~"` _
Plainas€, Div. l|,,,
V~ ' Docket No. CT- QO 9-0(@7‘" [O
THV.[OTHY L. KEMP, M.D., Jlll"y Demanded

Trnvis WEST TENNESSEE Mc, LLC,
and BAPTIST MEMORiAL nosPrrAL -
coLLtaRvn,LE,

Defendants.

 

COMI’LAIN'I' FOR DAMAGES

 

`The Plaintiff, Anthony Snow, Individuaily and As Next of Kin ofJessie M. Snow, Deceased
(“Patien_t”), files this Complaint for Dainages against the Defen'dants, Timothy L. Kemp, M.D.,
THMS West Tenness'ee MC, LLC, and 'Baptist Memorial Ho'spital ~ Collierville (“Defendants”):

PART]ES AND JURISDIC"IION

 

1. 'i`he Plaintiff, Anthony Snow, is a resident and citizen of I-Ioliy Springs, Marshall
County, Mississippi, and has been such at all times pertinent to this Cemplaint and brings this action
as husband and next-of-kin for Jessie M. Snow, Deceased, pursuant te Tenn. Code Ann. §§ 20-5-101
et Seq.

.2. The Defendant, T.imothy L. Kemp, M.D. (“Dr. Kernp”), is an adult resident of Shelby
County, Tennessee, and has been such at all times pertinent to this Cornpiaint.

3. Defendant, Dr. Kemp, provided medical services te the Patient on or about lanqu 2,

2009, at Baptist Memorial Hospital-Collierville.

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4. Defendant, Dr. Kemp, Was acting as the employee, servant and/or agent, ostensible
apparent or otherwise, of THMS West Tennessee MC, LLC, at all times relevant hereto.

5. Defendant, Dr. Kemp, Was also acting as the apparent agent of Baptist Memoria] _
Hospital ~ Collierville at all times relevant hereto.

6. Defendant, Dr. Kemp, can be served at his regular place of business, 1500 West

Poplar, Collierville, Tennessee 38017.

 

7. Upon information and belief, THMS West Tennessee MC, LLC, was a professional
corporation doing business in Collierville, Shelby County, Tenn'essee at all times pertinent to this
action 7 _

8. THMS West Tennessee MC, LLC, can be served through its_agent for service of 3
process, Corporation Service Company, 2908 Post'on Avenue, Nashville, Tennessee 37203.

9. Upon information and belief, Defendant, Baptist Mernorial Hospital -

Collierville (“Baptist - Collierville”) is and was at all times relevant hereto a hospital facility licensed
in and by the state of Tennessee.

10. The Defendant, Baptist-Collierville, can be served through its agent for service of
process, Mr. Greg Duckett, 350 North Hurnphreys Boulevard, Memphis, Tennessee 38120.

l 1. Defendant, Baptist - Colliervi'lle, offered general medical and surgical services and
was required by statute to provide a hospital emergency service in accordance with rules and
regulations enacted by the Tennessee Department of Health. TENN. CODE ANN. § 68-140-301.

12. Defendant, Baptist - Colliervi_lle, provided medical services to Patient Within the

Collierville, Shelby County, 'l`ennessee area on or about January 2, 2009.

Page 2 of 8

‘,Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Pa§ie 4 of 65 Pa§e|D 10
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13. Defendant, Baptist - Collierville, is vicariously or otherwise liable for the acts and/or
omissions of its employees, agents and/or servants, ostensible or otherwise, who provided care
and/or treatment to Patient including, but not limited to, Defendant, Dr. Kemp.

14. All of the events which form the basis of this Complaint occurred in Collierville,
Shelby County, Tennessee.

15. Venue is properly situated in Meinphis, Shelby County, Tennessee.

16. This Court has jurisdiction over the subject matter of this litigation

'17. This Court has jurisdiction over the parties to this litigation

18. The Plaintiff fully complied with the provisions ofTenn. Coa'e Ann § 29-26-122 (a)l
by properly serving the Defendants with written notice of this claim at least sixty (`60) days before
filing this Coniplaint.

19. Copies of the affidavits of service and written notice served on the Defendants are
attached hereto as Exhibit_A.

20. The Plaintiff fully complied with the provisions of Tenn. Code Ann. § 29-26-122 by
properly filing a Certiiicate of Good Faith (“Certiiicate”) simultaneousiy With this Compiaint.

21. A copy of the Plaintiff’ s CertiEcate referenced above is attached hereto as EXhibit

FACTUAI. BACKGROUND
22. On or about January 2, 2009, Patient arrived at Baptist - Collierville at
approximately 10:'24 a.rn_., limping and complained of pain and swelling in her left calf (9 out of 10

point scale) accompanied by shortness of breath
23. Defendant, Timothy L. Kernp, M.D. (“Dr. Kemp”), was the Ernergency Departn'ient

physician that assumed the responsibility for the Patient’s care.

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24. Dr. Kemp was advised of Patient’s presenting complaints

25. At approximately 10:45 a.m., Dr. Kemp took a history of the Patient which revealed
the onset date of her left calf pain as Deceinber 22, 2008, a patient~reported history of deep venous
thrombosis, a recent emergency room visit complaining of left calf pain and recent episodes of
palpitations and shortness of breath

26. Dr. Kemp conducted a physical examination of the Patient in which he noted
swelling and pitting of the left calf and foot.

27. Dr. Kemp ordered a comprehensive metabolic panel, complete blood count and a
D-dimer test (which is used to help diagnose thrombosis).

28. At or about 1 l :28 a.m., the D-djnier test-resulted in an abnormally high measurement
of 4.0 ug/ml on a reference range of less than 0.50 lig/ml being nonnal.

29. Dr. Kernp then ordered a Venous Doppler Ultrasound of the left calf and the results
were interpreted at 12:2$ p.m. as.negative for deep venous thrombosis

30. The Patient was discharged horne by Dr. Kemp at 1:10 p.m`., who noted her condition
as “unchanged.”

31. Despite the Pati ent presenting with a self-reported history of deep venous thrombosis,
swelling, pain and pitting in her lower left extremity, recent episodes ofpalpitations and shortness of
breath, a recent emergency room visit for left calf pain, current complaints of shortness of breath and
a highly elevated D-dinier result, Defendant, Dr. Kem'p, chose not to begin anticoagulation therapy

32. Despite the Patient presenting with a self-reported history of deep venous thrombosis,
swelling, pain and pitting in her lower left extremity, recent episodes ofpalpitations and shortness of
breath, a recent emergency room visit for led calf pain, current complaints of shortness of breath and

a.highly elevated D-dimer result, Defendant, Dr. K_emp, chose not to order a chest CT.

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',Case 2:10-cv-02363-STA-ch Document 1-1 Filed 05/14/10 Page 6 of 65 Page|D 12

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33. Despite the Patient presenting with a self-reported history of deep venous thrombosis,
swelling, pain and pitting in her lower left extremity, recent episodes ofpal'pitations and shortness of

breath, a recent emergency room visit for left calf pain, current complaints of shortness of breath and

 

a highly elevated D-dimer result, Defendant, Dr. Kemp, chose not to conduct an appropriate study to
rule out pulmonary embolus/emboli.
34. Despite continued reports of pain in her left cali§ the P.a`tient was discharged horne at
1:20 p.m. (3 hours after her arrival) and was given prescriptions for Lortab and lb_uprofen for pain
and given follow-up instructions to see a doctor in two to three days unless better.
35 . The day after her discharge, the Patient died at home on lanuary 3, 2009_, at 7 _
approximately 5:45 p.m. - j
36. According to the Mississippi State Department of Health Certincate ofDeath, signed
by .l ames L. Anderson, MEI, the cause of death Was saddle pulmonary thromboembolus, deep venous
thrombosis (leit lower extremity) and right ventricular dilatation ofheart. A copy of same is attached
hereto as Exhibit C.
CAUsE or AcrroN ron NEGLIGENCE
3 7. Defendants, Timothy L. Kenip, M.D., THMS West Tennessee MC, LLC_, and Baptist
Memorial Hospi_tal - Collierviile, individually and/or vicariously, by or through their agents, servants
and employees, are guilty of one-(l_) or more of the following acts of negligence, each and every such
act being a direct and proximate cause of Plaintiff’ s damages and injuries:
(a) Negligentl_y and carelessly failing to order an appropriate work up to rule out
the diagnosis of pulmonary embolisrn;
(b) Negligently and carelessly failing to order-appropriate anticoagulation therapy

in a timely manner;

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{`c) Negligently and carelessly failing to otherwise properly evaluate, diagnose
and/or treat Patient’s medical condition in a timely manner;

(d) Negligently and carelessly failing to exercise that degree of care and skill
required of a reasonable and prudent physician under the same or similar
circumstances in cities such as Collierville, Shelby County, Tennessee in
2008; and

(e) Negligently and carelessly deviating from the recognized standard of
acceptable professional practice required and expected of these Defendants
under the circumstances that existed at all times relevant hereto.

38. Defendant, Baptist - Collierville, owed Patient a non-delegable duty to provide
medical care and treatment in the Emergency Department and hospital floor that complied with the
recognized standard of acceptable professional practice

39. Defendant-, Baptist - Collierville, breached that non-delegable duty (as noted above)
and is thus liable to Patient for the acts and/or omissions that occurred in the Ernergency Department
and hospital floor on or about January 2, 2009.

Ii~IJURIES AND DA`MAGES

40. The Patien_t_ was survived-by her husband, Anthony-Snow.

41. The Plaintiff and Patient sufferedharms and losses as the sole, direct and proximate
cause of the professional negligence, and deviation from the recognized standard of acceptable
professional practice on the part of the Defenda.nts.

42. As the direct result of the Defendants ’ negligence as herein alleged, A.nthony Snow, as
the deceased Patient’s next-oi`-lcin, is entitled to recover damages, including but not limited to, the

following specific.items of damage:

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a. The mental and physical suffering actually endured by the Patient;
b. Medical expenses necessitated by the Defendants’ negligence including
expenditures for doctors, nurses, hospital care, medicine and drugs;
c. Reasonable funeral expenses;
d. Loss of earning capacity before the Patient’s death and future;
e. Damages pursuant to the wrongful death of Plaintifi’s wife, lessie M. Snow.,
including the loss of love, affection, companionship, care, and attention;
t`. Damages related to great mental anguish and suffering as a result of the death
of Plaintifl’ s wife on or about January 3, 2009;
g. I.oss of the pecuniary value of the deceased Patient’s life; and
h. .Other damages allowed by law.
VICARIoUs LIABILITY
43. Defendant, THMS West Tenne'ssee MC, LLC, is vicariously liable for the acts and
omissions of all its employees, servants and agents including, but not limited to, Dr. Kemp and every
other member of its staff who provided care and treatment to the Patient on or about January 2, 2009.
44. Defendant, Baptist - Collierville, is vicariously liable for the acts and omissions ofall
its employees, servants and agents including, but not limited to, Dr. Kemp and every'other member
of its staff who provided care and treatment to the Patient on or about January 2, 2009.
WHEREFORE, the Plaintiff sues the Defendants herein for compensatory damages in an
amount to be determined by the jury, for costs herein, and for all such other and further reliet§ both

general and specific, legal and equitable, to which the Patient and Plaintiff are entitled by law.

Page 7 of 8

 

 

 

 

'__Case 2:10-cv-02363-STA-cgc Document 1-1 Filed O5/14/1O Page 9 of 65 Page|D 15

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Respectlillly submitted, 7
THE COCHRAN F]RM - MEMPHIS

One Cornrnerce Square, Suite 2600
Memphis, Tennessee 38103
(901) 217»7000 [Telephone]
(901) 333-1897 [Facs' ile]

 

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STATE OF TENNESSEE )

)
COUN.TY OF SHELBY )

Coines now the Affiant, Wendy Sorrels, who, having first been duly sworn, makes oath

that the following statements are true:

 

l. My name is Wendy Sorrels. l am an adult citizen, over the age of eighteen (18)
years, and am competent to make the statements contained in this Afiidavit.

2. ‘ On December 17, 2009, Imailed by certii’ed mail, with return receipt
_requested, after obtaining a Certiiicate of Mailing from the U.S. Postal Service,
stamped with the date of December 17, 2009, the below notices and all enclosures
to Baptist Memorial Hospital- Collierville, Mr. Glenn F. Baker, Administrator ;
and Chief Executive Officer at the address of 1500 West Popla`r, Collierville,_ :_
Tennessee 38017, Mr. Greg Duckett Registered Agent for Baptist Memorial §
_Hospital- Collierville, at the address of 350 North Humphreys Boulevard
Memphis, Tennessee 38120, Timothy L. K_emp, M. D. at 1the address of South
'Emergeney Associateszaptist Collier-ville Hospital, 1500 West Poplar,
Collierville, Te`nnessee 3`8017_, South Emergency Associates, P.C. at the address
of 85 96 Rockcreelc Parkway, Cordova, Tennessee 38016, and F-red J. Adc.oclc, III,
M. D., Registered Agent for South Emergency Associate_s, P. C., at the address of
85 95 Rockcreel< Parkway, Cordova, Tennessee 38016 as required by T. C. A.
§ 29 -:26~121(a)

EX`hibit l, which is the notice letters.

Exhibit 2,`which is the list of the names and addresses of all providers who were
being sent a notice pursuant to T.C.A. § 29-2'6-12`1 (a).

Exhibit 3, which is HIPAA compliant medical-authorizations permitting

Baptist Memorial Hospital - Collierville to obtain complete medical records from
providers Timothy L. Kemp, M.D. and South Eme_r'gency Associates, P.C. who
were sent a notice.

Exhibit 4, which is HlPAA compliant medical authorizations permitting
Timothy L.. Kernp, M.D. to obtain complete-medical records from providers
Baptist Memon'al Hospital - Collierville and South Bmergency Associate's, P.C.
who were sent a notice

Exhibit 5, which is HJPAA compliant medical authorizations permitting
South Emergency Associates, P.C. to obtain complete medical records horn

providers Baptist Memor-ial Hospital - Co.llier-ville and Timothy L. Kemp, M.D.
who were sent a notice.

 

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Exhibit 6, which is copies of the Certiticate ofMailings from the U.S. Postal
Service, stamped with the date ofmailing.

Exhibit 7, which is copies of the return-receipt cards that accompanied the
notice letters sent by certified mail.

sIGNAthE

Date: f$-/ 17 /O‘Ci'

 

Subscribed and sworn to hefor_e.me.this ____7___"¢';/ day of{ZLgALAQ/U ___, 2009.
* E.

 

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Smusx. A. Cr-carow, JR. "’

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ONa CoMMsacs SQUAR:~: - 26'm FLooR ' Mi-:MPHIS, TsNNassF_a 38103
(901) 523-1222 - Pax; (901) 523~1999
w\vw.cocasmriau.com

December 17, 2009

TN'19156

- Baptist Memorial Hospital » Cclliervil-le

Mr. Glerm F. Bak`er, Administr`ator and
Chief' Executive Ofiicer '
1500 WestPoplar t -
Colli'ervill'e, Tennessee 3801

VlA CERTIFIED MAIL

Jessie Mae Snow, Deceased
Notice Required by T.C.A. § 29~26-121 (a)

RE:_

Dear Mr. B`aker:

I. am the attorney representing Jessie Mae Snow, Deceased and Anthony Sn'ow,-
Jr., Husband. Through me and my firm, Antho'ny Snow, Jr. is asserting a
potential claim for medical malpractice against your hospitall This claim
arises out of care provided by employees and/or agents of your hospital, to_,
vand/or on behalf of, the'ho'spital‘s patientj Jessie Mae Sno_w, Deceased, while

‘ lessie Mae _Snow, Deceased was at your hospital at 1500 'Wes_t Popiar,

Collierville, Tennessee 3 8017 during her admission beginning'on/about
January 2, 2009.

The hill name and date of birth of the patient whose treatment is at issue are:

Jessie Mae Snow, Deceased
Date of Birth: November l3, 1974

The name and address of the claimant authorizing this notice and relationship
to the patient are:

Anthony Snow, Jr., Husband

140 Jordon Road

`Holly Sp_rings, .Mi-ssissippi 38635 - '
' - ' E>¢Hlvrr.

   

 

AUANTA - CH:cAco .» .LAs Vaoas - bos ANGsu=,s * Mla-MI - Naw ORL.F.ANS - Naw Yoa!_< - Sr. LoUIs '. Wssiawcron D.C.

'_Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed O5/14/1O Page 13 of 65 Page|D 19

“'i 1 1 ° i;)

 

Baptist Memorial Hospital ~ Collierville
Mr. Glenn F. Bal<er, Administrator and
Chief Executive Ofticer

December 17, 2009

Page 2

The name and address of the attorney sending this notice are:

BobbyF. Martin, Jr., Esq.

The Cochran Pirm- Memphis
One Cormnerce Square, 26th Floor
Mem'phis, Tennessee 38103

Enclosed herein is a list of the names and addresses of all providers being sent a notice

'Enelosed are H_IPAA compliant medical audioiizations pennitting your hospital to obtain
complete medical records from each other provider being sent a.notice. _

l know that you willsend a copy of this correspondence and all enclosures to your
professional liability insurance carrier and/or your risk manager and/or your legal counsel

You' are welcome to contact me, or your representative is welcome to contact me. I would
appreciate hearing from someone about this matter as soon as possible

rThank you very much

Sincerely,

   

THE COCHRAN - IVIEMPHIS

Bobby
Ernail: bmartin@cochraniirm .com

BF.M!ws

Enclosures

'_Case 2:10-cv-02363-STA-cgc Document 1-1 Filed O5/14/1O Page 14 of 65 Page|D 20

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DANasE K. BANKS _

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`GARRY J. _RHODEN “" 1
Bosav E. Manrrn..m.“

'Bu,s. M. \N'A.oa1 .

Pa'raa B. GHE. JR.=-’
MAR:< A. LAMBERT’

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ONE CoMMERcF, SQUAR£ - 26'1'1-1 FLooR ~ MF.MPHIS, TaNNassas 35105
(901) 523-1222 v P,oc: (901) 523-1999
www.cocHRANrmM.coM

Decernber 17, 2009
TN19156

Mr. Greg Ducl<ett

Registered Agent for Baptist Memorial
Hospital » Collierville

350 No_r_th Hu.r_nphreys Bouleva._rd_
Memphis, Tennessee 38120

VLA CER'I`IFIED MAlL
RE: Jessie Mae Snow, Deceased
Notice.Reqnired by 'I`.C.A. § 29-26~121 (a)
Baptist Mernorial Hospita_l - Colliervi_lle
Dear Mr. 'Duckett: n

You are listed with the State' of Tennessee as the agent for service of process for
Baptist Memoriai Hospital - Col_lierville.

l I am the attorney representing J_essie Mae Snow, Deceased and Anthony Snow,

Jr., Hu_sband. Through me and my tim Antho`ny Snow, Jr. is asserting a
potential claim for medical malpractice against Baptist Memorial Hospital -
Collierville. This claim arises out of carepr_ovid_ed by Baptist Memorial Hospi_tal
~ C.ollier.'ville to the patient, Jessie Mae Snow, Deceased, at Baptist Memorial
Hospital - Collierville, 1500 West Pop'lar, Coliierv'ille, Tennessee 38017 during
her admission beginning 011/about J`anuary 2, \2009.

The full name and date of birth of the patient whose treatment is at issue are:

lessie Mae Snow, Deceased
Date ofBir_th: November 13, 1974

The name and address of the claimant authorizing this notice and relationship to
the patient are-:

A.nth`ony Snow, Jr., Husband
140 lordon Road _ _
Holly Springs, Mississippi 38635

 

ATLANTA ' Cm`caoo - tassz - ios-ANGELES - MmMI. - Ns:w OaLaaNs - Nsw YORK - ST. _Lours - WA$H]NGroN D._C.

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…," - _..\

l'“ l

Mr. Greg Duckett

Registered Agent for Baptist Memorial
Hospital - Collierville

December l'/', 2009

Page 2

The name and address of the attorney sending this notice are:

Bobby F. Martin, .lr., Esq.

The Cochran Firm - M'emphis
One Commerce Square, 26th Floor
Memphis, Tennessee 38103

Bnclosed herein is a list of the names and addresses of all providers being sent a notice

Enclosed are HIPAA compliant medical authorizations permitting_Baptist Memorial Hospital -
Colliervil_le to obtain complete medical records from each other provider being sent a noticel

Please forward this correspondence to the appropriate individuals at Baptist Memoriai Hospital -
-Collier_ville to the professional liability insurance carrier and/or legal counsel of Baptist
Memorial Hospital - Colli'erville. _Pleas_e ask_a representative of the professional liability
insurance carrier insuring Baptist Mer_n`orial Hospital - Collierville for this claim, and/or legal
counsel, to contact me.

Thanl< you.

Sincerely,

   

ashby s Maaia, Jr., a
E_rnail: bmartin@cochranfinn.com

  

BFM/Ws

Enclosures

',Case 2:10-cv-O2363-STA-Cgc Document 1-1 Filed O5/14/1O Page 16 ot 65

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SAMUF.L A. CHERRY. JF.. "’

Joci< M, SMrrH """

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' .DANESF,- K. BANxs

W. BRYAN SMn'n_

G.ouw J. RnoosN ‘~f' ’

B_ossY F. MAR'rrN. JR'.“

Bii.c. M. WADE2

PETER B. Gea JR»’“

Msmc A. LAMBBRY’

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ONE CoMMsRcs SQUARE - 26'n-i FLOOR ' M!=.MPHIS,_ TsNNEssss 58103
(901|) 525-1222 °'PAX-: (901) 525-1999
WWCOCHRANHRM.coM

December 17, 2009
TN1_9156

Tirn_otby L. Kernp, M.D.
South Emergency`A_sscciates/'
Baptist Collierville `Hospital
1500 West Poplar l
Collierville, Tennessee 38017

VIA CERTIF`IED MAIL

RE: lJessie Mae'SncW, Deceased

Notice Required by T.C.A. § 29~26-121 (a)
Dear Dr. Kernp:

l am the attorney representing Jessie Mae Snou{,- D.eceased and Antliony` Snow,
.lr., Husband. Through me and my tirm, Ant.hony Snow_, Jr. is asserting a
potential claim for medical malpractice against -you. This claim arises out of care
provided by you to your patient, Jessie Mae Sno-w, Deceased at Baptist Mernorial
Hospital - Collierville during her admission beginning on!about January 2, 2009.

The full name and date of birth of the patient Wliose treatment is at issue are:

.Tessie Mae Snow, Deceased
Date of Birth: November 13, 1974

The name and address of the claimant authorizing this notice and relationship to
the patient are:

Anthony Snow, Jr., Husband
140 lordon Road
Holly Springs, Mississippi 3'8635

The name and address of the attorney sending this notice are:

Bobby P. Martin, Jr., Esq.

The Cochran Finn - Memphis
One Cornmerce Square, 26th Floor
Memphis,_ Tennessee 38103 .

 

AnANTA » CHIcAGo - LAsVscAs ' L'os Ancst.as - ML~\.MI ~ Nsw Otu_ams v N_sw YoRK - Sr. Lonis - Wssnn~icron D.C.

‘_Case 2:10-cv-O2363-STA-Cgc Document 1-1 Filed O5/14/1O Page 17 ot 65 Page|D 23

3 ` y `_)

Tirnothy L. Kemp, M.D.
South Ernergency Associates/
Baptist Colli`erville Hospital
Dec'en‘rb'er l'?, 2009

Page 2

Enclosed herein is a list of the names and addresses of all providers being sent a notice.

Enclosed are H[PAA compliant-medical authorizations permitting you to obtain complete
medical records from each other provider being sent a notice

Plea_se forward this correspondence and all enclosures to your professional liability insurance
carrier andfor your legal counsel.` IWould also like to invite you to contact me for the purpose ot"
giving a sworn statement detailing the care that you provided to my client Please ask your
representative (either a representative from your professional liability insurance carrier or your
legal counsel) to contact me for the purpose of scheduling an appointment

Th_anl< you.
Sinc'erely,

THE COCHRAN FI MEMPHIS_

W

Bobby F. Martin,_ r., Esq.
Eniail: brnartin cochranflrrn.com

 

 

BFM/Ws

Enc'lo_sures

;Case 2:10-cv-O2363-STA-Cgc Document 1-1 Filed O5/14/1O Page 18 ot 65

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.|oHNle L. CocHRAN. Jlr.

0937-2005)
Sasn_rsl, A. CHF,R.RY, JR. *"
Jocr< M. SMITH "“
DoNALD W. BucKLER‘
H. Soo'r'r BA'n=.s ‘
K.sm_i R. Mirer<‘
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Page|D 24

 

Onr CoMMsRcs SQusns » 26rn Frooa - MEMPHIS, TENNESSEE 38105
(901) 525-1222 ‘ `FAx: (901) 523-1999
` wwwcocnaaNFr-RM.GOM

Decernber 17, 2009

TN1.91-`56

South Emergency .Associates, P.C.
8596 Rocl<creek Parl<:iway
Cordova, Tennessee 38016

via CERTIFIED MAIL

.lessie Mae Snow, Deceased
Notice Required by T.C.A. § 29-26~121 (a) _

`RE:

Dear South Ernergency Associates, P.C.:

l am the attorney representing lessie Mae SnoW, Deceased and Anthony
Snow, .lr_, Husband. Through me and my tirrn, Ant_hony Snow, .lr. is asserting
a potential claim for medical malpractice against your professional
corporation This claim arises out of care provided by employees,`
shareholders, members, agents, of South Emergency Associates, P.C. and by
other individuals acting on behalf of South Ernergency Associates, P.C.. all of
whom provided care to and/or on behalf of South 'Emergency Associates,
P.C.’s patient, lessie Mae Snow, Deceased while Jessie Mae Snow, Dcceased
received care and attention by or on behalf of South Brnergency Associates,
P.C. at Baptist Mernorial Hospital » Colliervil`le, 1500 West-Poplar,
Collierville, Tennessee during her admission beginning 011/about January 2,
200`9.

The full name and date of birth of the patient Whose treatment is at issue are:

lessie Mae Snow, Deceased
Date of Birth: Novernber 13, 1974

The name and address of the claimant authorizing this notice and relationship

to the patient are:

Anthony Snow, Jr., Husband
140 lordon Road
Holly Springs, Mississippi 38103

 

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-._Case 2:10-cv-O2363-STA-Cgc Document 1-1 Filed O5/14/1O Page 19 ot 65 Page|D 25

South Emergency Associates, P.C.
December l7, 2009
Page 2

The name and address of the attorney sending this notice are:

Bobby F. Martin, Jr., Bsq.

The Cocbran Firm - Memphis
One Commerce Square, 26th Flcor
Memphis, 'l`ennessee 3'810`3

Enclosed herein is a list of the names and addresses of all providers being sent a noticc. _

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain
complete medical records from each other provider being sent a notice

Please send a copy of this correspondence and all enclosures to your professional liability
insurance carrier and/cr your legal counsel l would appreciate hearing from your
5 representative of your-professional liability insurance carrier or your legal counsel as soon as

possible
' Thanlc you.
Sincerely,

THE .COCHRAN FIRM - MEMPHIS

 

Bobby F. artin, r.-,
Email: bmartin@cochraniirm.com

BFM/ws

Enclosures

»_ Case 2:10-cv-O2363-STA-Cgc Document 1-1 Filed O5/14/1O Page 20 ot 65

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JoHNNIs L. CocHaAN, JR.
{1937»2005)

SAMUELA. Cnsmzv. Js. "’

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W. BRYAN SMITH

G»uuzv .I. RnonsN‘-’-’

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Page|D 26

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ONE CoMMERCE SQUARE - ZGTH Fi.ooa ' MEMPHIS, TENNESSE.E 38103
(901) 523-1222 ' 13sz (901) 523~1999
Ww.cocHaANFrRM.COM

December 17, 2009
TN19156

Frank l. Adcoclc, lll, M.D.

Registered Agent for South Emergency
Associates, P.C.

85 96 Rockcreek Parl<way

Cordova, Tennessee 38016

Vl_A CERTIFIED MAIL

RE: .Tessie Mae Snow, Deceased
Notice Required by T.C.A. § 29-26-121 (a)
South Emergency Associates, _P.C.

Dear Dr. Adcock:

You are listed urith the State of Tennessee as the agent for service of process
for South Emergency Associates, P.C. '

l arn the attorney representing Jessie Mae _Snow, Deceased and Anthony
Snow, Jr., _Husband. Through me and my tirm, Anthony Snow, -Jr. is asserting
a potential claim for medical malpractice against South Emergency Associates,
P.C. This claim arises out of care provided by South Emergency Associates,
P. C. to the patient, lessie Mae Snow, Deceased at Baptist Mernorial Hospital -
Collierville, in Collier-ville, Tennessee, during her admission beginning

on!about january 2, 2009.
The full name and date of birth of the patient whose treatment is at issue are:

lessie Mae Sncw, Deceased
Date of Birth: November\-VIB, 1974

The name and address of the claimant authorizing this notice and relationship

` to the patient are:

Anthony Snow, lr.,, Husband
140 lordon Road
Holly Springs, Mississippi 38103

 

ATLANTA ' Cnrcace - LAsVEGas - Los ANGers - MrA-su » NEW OR:.FANS - NEW YORK - ST, hours - WMHrNcroND.C.

 

 

 

 

-Case 2:10-cv-O2363-STA-Cgc Document 1-1 Filed O5/14/1O Page 21 ot 65 Page|D 27

Frank .l. Adcock, lll, M.D.

Registered Agent for South Ernergency
Associates, P.C.

December 17, 2009

Page 2

The name and address of the attorney sending this notice are:

Bobby F. Martin, .lr., Esq.

The Cochran Firrn - Memphis

One Comm'erce Square,` 26th Floor `
Memphis, Tennessee 38103

Enclosed herein is a list of the names and addresses of all providers being sent a notice.

Enclosed are HlPAA'compliant medical authorizations permitting South Emergency
Associates, P.C. to obtain complete medical records from each other provider being sent

a notice.

Pleasc forward this correspondence to the appropriate individuals at South Emergency
Associates, P.C. and to the professional liability insurance carrier and/or legal counsel of
South Emergency Associates, P.C. Please ask a representative of the professional
liability insurance carrier insuring South Em_ergency Asso_ciates, P.C. for this claim,
and/or legal counsel, to contact me.

Thank you.

Sincerely,

THE COCHR.AN FI -¢.MEMPHIS

   

Bobby F. artin, r.,Esq.
Er`nail: bmartin@cochrantlrm.com

_BrM/ws`

Enclosu.res

;Case 2:10-cv-O2363-STA-cgc Document 1-1 Filed 05/14/10 Page 22 of 65 Page|D 28

;LIS'I` OF NAMES AND ADDRESSES OF ALL PROV.[DERS
BEING SEN’I` A NOTICE PURS'UANT TO T.C.A. 6 29-26-121gaL

` RE: lessie Mae Snow, Deceased

The below is a list of health care providers to Whom notice is being given, pursuant to T. CA.
§ 29-26-121(a), cfa potential claim for medical malpractice:

l. Baptist Memorial Hospital - Colli'erville
1500 West Popla_r
_Collierville, Tennessee 38017

2. Timothy L. Kemp, M.D.
South Emergency Associates/Baptist Collie_rville Ho'spital
1500 W'est 'P_oplar
Coll_ierville, Tennessee 380-17

3. South Emergency Associates, P.C.
8596 Rockcreek Parkfway
`Co_rdo.V.a, Te`nnessee 38.0.16

 

 

 

;Case 2:10-cv-O2363-STA-cgc Document 1-1 Filed 05/14/10 Page 23 of 65 Page|D 29

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xrl do nut sign this form, my health saw and the payment -for my health care will nol be arrested unless stated atherwr'sc,

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receiving the revocation Further details my be found in the No\iec.of?rivacy Prsetiees. '

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Revised 312003

 

 

;_Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 24 of 65 Page|D 30

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A-UTHORIZA'.|.`ION POR. R'EI..E.ASE O'F PROTECTED H`E.AT.TH INFORMA'UON (PI.'U.)
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Purttosc of disclosure: CDMFi.iANCE W'ITH T.C.A. § 2946-121

Zip.'
339 f'T .

 

 

 

 

 

 

Desoription or'inforzmtiion to tro used or disclosed

 

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another authorization £or`otlrcr items`oeiow. D'No, then you may cbcol~'. as many irons below as you noorl. ._

 

 

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l li'| do not sign this forrn, my health cure and the-payment-for my health crirr_:.wiil not'he siToctor:l unless stated othervrisc.

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receiving the revocation Funher details may irs found in thc Notice oi`Privaoy Prat:tices.

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federal privacy mgul_tttions and moybo-rediscioscd, .

5. l understood tiiafi my attorney will metro copies of all records received through this authorization

6. l|ttrruugh my attorney. will get o copy ofthis §omtofi:r:ri sign it

 

Ss.oticm B:

 

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copy shall `trc furnished to my counsel lattarnoy rand addressl. within llvel$) days after tho records arc obtained through tire ore u'frin‘s authorization

      
 

     

 

Soction C: Signan.tres

 

l have road the above and authorize the disclosure of the protected health intimation assured '

 

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szisc`d 312003-

 

 

 

 

 

 

 

 

_ -` Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 25 of 65 Page|D 31

»'~v.

 

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Dotc: Evmt:

romo urdi=ctmr== coMPLlANco wt.'rtt 'r.c)\. § 2945-121

 

 

 

Desc_ri`ptioo of information m bo osod or disclosed

 

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anomcrout!tori-owoo.fnr otlicr items below D=No, mm you may nhod<_asmy imms boiow ns you need, _ ,_

 

 

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l moy refuse to sign this authorization and that it is strictly voli.uit'ary._ 1 _

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. l may rovokc this authorization at any time in wrixir_tg,_ but il` l rios it will not have any oii’oot on any actions taken prior to
receiving the revocation F_urthcr details may br found in-lh'o-Notice ofPrivoq'-Praotioes. '

4. if thc roqut-.ster or receiver is-ooi a health plan or health corc'providt:r, thc released information-may on longer be protected by

fedorai privacy imitation a.nd myi)o -rodisoiosed. .
5. 1 understand thot,l my attorney will receive copies ofall records received through this authorization
6. J_ through m)-attorne>-. will got a copy of this formaner sign it.

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Ssoi:ion B!

 

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§ Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 32 of 65 Page|D 38

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STATE OF TENNESSEE )

)
cOUNTY oF s_HELBY )

Cornes now the Afi'lant, Wendy Sorrels, who, having first been duly sworn, makes oath

_ - that the following statements are true:_

l. - ' My name-is Wendy'Sorrels. l am an adult citizen, over the age of eighteen (18)
'years, and amcompetent to make the statements contained in this Affidavit.

2. On Decomber 23, 2009, I_-mailed by certified mail, with returnreceipt . . . _
requested, after obtaining-a Certiticate ofMailing_ from the U.S. Postal Servic'e,
Stanipcd With the date of Dec_ember 23, 2009, the below notices and ali enclosures
to Baptist Memori'al Hosp`ital ~ Colli'erville, Mr. Glenn F_. Baker', Administrator

.and Chief Executive 'Ofiicer .at the address of 1500 West Poplar, Collier-ville,
Tennesse_e 38017, Mr. Greg`Duckett, Reg“is_tered Agent for Baptist Memorial
Hospital - Collierville, a_t the address of 350 North Humphreys- Boulevard,
‘Mernphis, Tennessee 381_20, Timothy L. Kernp, M.D. at the address of South
Emergency Associ_ates/Bapti_st `Collier-ville Hospitai, 1500 West Pop`lar,
Collierville, Tennessee 380.17, THMS West Tennessee`MC, LLC- at the address of
1900 Winston Road, Snite 300, `K;noxv_iile, Tennessee 3791_9, and Corporation
Service Comp'any, chis_tered Agent for THMS West '-l_"ennessee MC, LLC at the
address of 2908 Poston Avenue, Nashviile, Tennessee 37203 as required by

r.c.A. § 29-26-121(a): - 1 .
, - Exhibit 1, which §s the notice letters.

v _ - Exhibit 2, which is the list of the names and_add`resses of all providers who were
v » "b`eing sent -a notice pursuant to -T.C.A. § 29-26-1-21 (a). 7

' Exhibit 3, which is HIPAA compliant medical anthorizations permitting -
Baptist Memorial Hospital - Collierville to obtain complete medical records front
providers Tirnothy L. Kemp_, M.D. and 'l`I-]MS West Tennessee MC, LLC who

Were sent a notice.

Exhibit 74, which is HIPAA compliant medical authorizations permitting
Tirnot‘ny L. .Kemp, M.D. to obtain complete medical records from providers
Baptist Mern'orial' Hospital -.Collierville and THMS West Tennessee MC, LLC

who were sent a notice. _

_ Exhibit 5, which is HIPAA compliant medical authorizations permitting
TI-[MS West Tennessec MC, LLC to obtain complete medical records from
providers Baptist Mernorial Hospital - Col-lierville and Timothy L. Kernp, M.D.
who were~sent a notice .

‘» Case 2:10-cv-02363-STA-Cgc Doc_ument 1-1 Filed 05/14/10 Page 34 of 65 Page|D 40

z - - "ii) j »

_Exhibit 6, Which is copies of the Certificat`e of Mailings tom the U.S. Postal
’ ' Service, stamped with the date of mailing

Exhibit 7, Which is copies of the return receipt cards that accompanied the
notice letters sent by certified mai_l.-

--sI_GNAi`URE ~ '

Date: '-13~1/23/0""?

Subscribed and sworn to befores'h%b'tlns 323/ig / day of w 2009.

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NOTARY PUB 1' ' 9§‘5
MY GOMM¥SS|_O|'§ E_EFIF¢ES
My commission expires_: __M 2011

 

 

.. Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 35 of 65 Page|D 41

 

ONE COMMF.RCE SQUARE ~ 261'H Fioc)R- MsMi>ins, TENNBSSEE 38103
(901) 523-1222-1=11>1: (901_) 523- 1999
wW.cochNFimvi. com

lonnle L. Cociiiw~x, JR. ` Decemb@r 23, 2009

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Kzrr-H.ammémr<: Baptist Memorial Hospital - Colliei'ville

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BOBBY F. Mia'_rm,_rg,'-’ . _ . _
BmM__WADE: COlllerville, Tennessee 38017

` Ps'rsii B.Gsa Jii.=‘

M“‘< A'L*M“_E“’ _ViA cannst MAiL
Ar.so ADMHT£D IN.-
fannin ` RE: Jessie Mae Snow, Deceased
"““”W Nosc¢ Required by T c -A § 29 26 121 (a)

€Dr.rmcr OF Cowmm
‘Fi,onm.¢

J"};‘r,£:;fs;;: Dear Mi'. Bakei':
'Ksrm)c:rc)* _ _
lam the attorney representing Jessie Mae Snow, Deceased and Aiithony Snow,
' Jr-., Husband. Thi'ougli me and my Erm, Anthony Snow, Jr. is asserting a
potential claim for medical malpractice against your hospital. This claim
arises out of care provided by employees and!or agents of your hospital, to, -
and/or on behalf of, the hospital's patient, Jessie Mae SnoW De'c_ease_d, While_
lessie Mae _Snow, Deceased was at your hospital at 1500 West Poplar,
Collierville, Tennessee 38017 dining her admission beginning 011/about
. January 2 2009`.

The full name and date of bi_i'tli of the patient whose treatment is at issue are:

Jessie Mae Snow,- Decea'sed
Date ofBir`t}i: November 13 § 1974

The name and address of the claimant authorizing this notice and relationship
to the patient are:

Antliony Snow, Jr., Husband
_ 140 Iordon Road
Holly Spi'ings,_ Mississippi 38635 Ex"la“.

§4 .

 

 

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__-_ Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 36 of 65 Page|D 42

 

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1 “ - ”`?)

Baptist Memorial Hospital - Coll-ierville

Mr. Glenn F. Baker, Administrator and
4 Chief Executive Ofi'icer

December 23, 2009

P-age 2 -

The-name and address of the attorney sending this notice are:
Bobby F1 Martin, Jr., Esq.
The Cochran Firm - Mernpliis
‘ One Commerce' Square, 26th Floor
Memphis, `Tenne`ssee 38`1'03`
Ericlosed herein isa list of the names and addresses of all providers being sent a notice

Ericlosed are HIPAA compliant medical authorizations permitting your hospital to obtain
complete medical records from each other provider being sent a notice. .

. I know that you Will send a copy of this correspondence and all enclosures to your
professional liability insurance carrier and/or your risk manager and/or your legal counsel
You are Welcoi_ne to contact me, or your.representative-is welcome to contact me. l would

. appreciate heating nom someone about this matter as soon as possible '

Thank you very much.

Sincerely,

   

THECOCHRAN ~ ' ems

  
  

iBobbyF. -' " ,` .,' .
Email: bmartin@coc] -;.

`BFM/Ws

 

.COIH

 

Enclosures

 

`_._ Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 37 of 65

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Page|D 43

 

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(901) 523-1222 »_FAX: (901) 523-1999
WWW.COCHRANF|RM.€QM

December 23, 2009
TN19156'

Mr. Greg Duclrett

Registere_d Agent for Baptist Memorial
Hospital - C'olliervi'lle ' ' '
350 N_orth Huinphreys Bo`nlevard
Memphjs, Tennessee 38120

VIA CERTIFIED MAIL

R_E: Jessie Mae Snow, De_ceased
Notice Required by T.C.A. § 29-26-121 (a)
Baptist Memorial Hospital ~ Colliervi'lle

Dear Mr. D.u_ckett:

You are listed With the State of Tennessee as the agent for service of process for
Baptist Memorial Hospital - Collierville. '

l am the attorney representing Jessie Mae `Snow, ¢Deceas_ed and Anthony Sn_ow,

.lr., Husband. Thr`ough me and my iirm, Anthony Snow, Jr. is asserting a

potential claim for medical malpractice against Baptist.Mernor.ial Hos_pital -
Collierville. This claim arises out of care provided by Baptist Memo`r`ial Hospital -
- Collierville to the.pa`tien`t, Jessie Mae Snow, Deceased,. at Baptist Meinorial
Hospital - Collierville, 1500 West P_oplar, Collierville_, Tenn_ess'ee 38017`du1ing
her admission beginning on/about .lanuar.y -2, 2009.

The full name and date of birth of the patient Who se treatment is at issue are:

lessie Mae Snow, Deceased
Date_ of Birth: November .13, 1974

The name and address of the claimant authorizing this notice and relationship to -
the patient are:

Anthony Sn_ow, Jr., Husband _
140 Jordon Road
Holly Springs, Mississippi 38635

 

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_1. Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 38 of 65 Page|D 44

 

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Mr. Greg Duckett

'Registered A_gent for Baptist Mernorial
Hospital - Collierville

.Decernber 23, 2009

Page 2

‘].`he name and address of the attorney sending this notice are:

Bobby F. Martin,‘.lr., Esq.

The Cochran Finn - Memphis
One Commerce Square, 26th Floor
Mernphis, Tennessee 38103' '

Enclosed herein isa list of the names and addresses of a_ll providers being sent a-noti_ce.

- Enclosed are HIPAA compliant medical authorizations permitting Baptist Me_morial Hospital -
Collierville to obtain complete medical records from each other provider being sent a notice

Please forward this correspondence to the appropriate individuals at Baptist Memorial I-lo spital -
Collierville to the professional liability insurance carrier and/or legal counsel of Baptist
_Me_rn_orial Hospital - Collierville; Please ask a representative ofthe professional liability

` insurance carrier insuring Baptist_'Memorial l-'_Iospital'»~,-Collierville':for this elairn, andj'_or5 legal
counsel', to contactrne. ` ` ' ' l ' ,' .' l `- ` ` '

- Thanlc you.
Sincerely,

THE cocr-IRAN Fx _ UPHIS

Bobby F. . .
Einail: brnartin cochrantirm.com

      

BFM/’ws

Enclosures_

_-‘ Case 2:10-cv-02363-STA-cgc Document 1-1 Filed 05/14/10 Page 39 of 65

Page|D 45

 

JoHNNIE L. CoCHRaN, JR.
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SAM\JEL A. CHBR.RY., .la. '-~`

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H. Scoi"r Baras“

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ONE COMMERCE SQU.»tas - 26'rI-1 FLoon - MEM_PHIS, Tennessee 38103
(901) 525-1322 - Pax: (901) 525-1999
Ww.cocnami=rm.com

December 23, 2009
TN1~9156

Timothy L. Kernp, M.D.
South Emergency Associates/
Baptist Collierville Hospit-al
1500 West Poplar ' '
Collierville, Tennessee 3_801`_'7

VIA CERT[FIE`,D MAIL

RE: Jessie Mae Snow, Dec.eased _
Notice Required by T`.C.A. § 29-26-121 (a)

`Dear Dr. Kemp:

I am the attorney representing .Te_ssie Mae Snow, 'De'ceased and Ajnthon`y Snow,

Jr., Husb'and. Through me and my firm, Anthony Snow, Jr. is asserting a v
potential claim for medical malpractice against you. This claim arises out of care
provided by you to your patient,. lessie Mae Snov,v, Deceased at Baptist Mernon'al y
Hospital - Collierville during her admission beginning on/ about January 2, 2009.

The full name and date of birth ofthe patient Whose treatment isat issue are:

Jessie Mae Snow, Deceased
Date o'fBirth: Nover`nber .13, 1974

The name and address of the claimant authorizing this notice and relationship to
the patient are: '

Anthony Snow, Jr.‘, Husband
140 Jordon Road ` `
Holly Springs, Mississippi 38635

The name and address of the attorney sending this notice are:

Bobby F. Martin, Jr., Esq.

The Cochran Firni - Meinphis
One Coi:nrnerce Square, 26th Floor
Mern'phis, Tennessee 38103

 

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~_Case 2:10-cv-02363-STA-cgc Document 1-1 Filed 05/14/10 Page 40 of 65 Page|D 46

n 'lfirnothy1 L. Kenip, M.D.
South Emer'gency Associates/
Baptist Collierville Hospital
Dec_ember 23, 2009
Page 2

En_cl'osed herein is a list 'of the names and addresses of all providers being sent a notice

Enclosed are H[PAA compliant medical authorizations permitting you to obtain complete
medical records from each other provider being sent a notice

Please forward this correspondence-.and-ali enclosures to your professional liability insurance 7
carrier and/or your legal counsel I would also like _to invite you to contact me for the purpose of
giving a sworn statement detailing the care that ycu.- provided to my client Please ask your
representative (either` a representative from your professional liability insurance carrier or your
legal counsel) to contact me for the purpose of scheduling an appointment

   
 

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Sincerely, `
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Email: bmartin@cocliraniirrn.com
BPM/ws

Enclosures

-_ Case 2:10-cv-02363-STA-cgc Document 1-1 Filed 05/14/10 Page 41 of 65 Page|D 47

 

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Bn.L. M. W'Ans-2 _
anna cas nw RE: Jessie_ Mae Snow, Deceased

ala a ama _ Notice acquired by r._C.A. § 29-26`-121 (a)
Momimiii Dear THMS West'-l"enne'ssee MC, LLC:

iAmNs,ls

' JD).s_m)cr 0.=' Cowuan , -_ _. . ‘ _ _
- imply l am the attorney representing Je_ssie Mae Snow, Deceased and Anthony

,§§:?H Snow, Jr., Hus`band.` Th_rou_gh me'a:nd_ my iinn, Anthony Snow, .lr. is asserting

’ancxr _a potential claim for medical malpractice against your professional
corporation This claim arisesout of care provided by employees
shareholders members, agents, of THMS West Tennessee MC, LLC and by
other individuals acting on behalf of 'I'HMS West Tennessee MC, L`LC all of
whom provided care'to and/or on_be_half of THMS West Tennessee MC,
LLC"-'s patient, Jessie Mae Snow, Deceased While Jessi`e Mae-'Snow, Dec'eased
received care and attention by o_r on behalf of TI~IMS West Tennessee MC,
LLC at Baptist Memorial Hospital- Collierville, 1500 West Poplar, 7
Collierville, Tennessee during her admission beginning onfabout Januar`y£,~
2009.

The full name and date of birth of the patient whose treatment is at issue are:

Jessie Mae Snovv, Deceased» 1
Date of Birth: Nover_nber 13, 1974

The name and address of the claimant authorizing this notice and relationship
to the patient are:

Anthony-Snow, Ir., Husband
140 Jordon Road
Holly Springs, Mississippi 3 8103

 

ATLANTA - Cincaco - Las\facas ~ LosAN.csLas - MMM! - Na\v ORI.aiNs - NEWYORK » ST.LoUis' ' WAsnlNcroN D.C.

-_ Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 42 of 65 Page|D 48

THMS West Tennessee MC, LLC
_Decem_ber 23, 2009
Page 2

The name and address of the attorney sending this notice are: -
Bebby F. Memn, n.,` Eeq.
The Cochran Firrn ~ Memphis f
One Cornrnerce Square', 26th Floor

Mernpliis, Tennessee 38103

Enclosed herein is a` list of the names and addresses of all providers being sent a notice.' ' n

 

Enclosed are HIPAA compliant medical authorizations permitting your corporation to obtain "
complete medical records from each other provider being sent.a notice

Please send a copy of this correspondence and all enclosures to your professional liability ' _

insurance carrier and! or your legal counsel. l would appreciate hearing from your
representative of your professional liability insurance carrier or your legal counsel as soon as

possible
Thanl< yon.

Sincerely,

 

E_rnail: bmartin@coeliraniirm. com

BFM/ws

Enclosures

-, Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 43 of 65

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MARK A. LAMERT’

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Page|D 49

 

ONF. CoMMF.ncs SQUARE - 26ri`~I FI_,O`OR -.MEMI>HIS, TENNE.sssE 58105
(901) 525-1222 - Psz (901) 523-1999
Www.cocHaANr-iaM.COM

Deceinb.er 23, 2009
TN19156

Corporat:_ion Service Ccrnpany
Registered Agent- for THMS West
Tennessee MC, LLC 7

2908 Poston Avenue

Nashville, Tennessee 37203

VIA CERTIFIED MAIL

RE: Jes_sie Mae Snow, Deceased
Notice Requir_ed by T.C.A. § 29-26-121 (a)
THMS Wes_t Tennessee MC, LLC

Dear Corporation S'ervice Conipany.`:

You are listed With the State of Tennessee as the agent for service of process
for THMS West Tennessee MC, LLC.

l ain the attorney representing Jessie Mae Snow, Deceased and Anthony _
Snow, Jr., Hus`band. Through.rne and'my firrii', Anthony Snow, Jr.- is asserting

a potential claim for medical malpractice against THMS West Tennessee MC,
LLC. This claim arises out of care provided by THMS West Tennessee MC,
LLC to the patient, .lessie Mae Snovv, D'eceased at Baptist Mernorial Hospital -
C_ollierville, in Collierville, Tennessee, during her admission beginning
onjabont January 2, 2009.

The full name and date of birth of the patient Whose treatment is at issue are:

lessie Mae Snow, Deceased
Date of B'irth: Novernber 13, 1974

The name'and address of the claimant authorizing this notice and relationship
to the patient are: `

Anthony Snow, Jr., Hnsband
140 llordon Road
-Holly Springs, Mississippi 38103

 

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-, Case 2:10-cv-02363-STA-Cgc Document 1-1 F-i|ed 05/14/10 Page 44 of 65 Page|D 50

 

'Corporation Service Cornpany
R_egistered Agent for TH_MS West
'Tenness_ee_'MC, LLC

Decer_nber 23, 2009 -

Page 2

The name and address of the attorney sending this notice are:

Bobby F. Martin, .lr., Esq.

The Cocliran 'Firrn'- Memphis
One Cornmerce Square, 26th Floor
Memphis, Tennessee 38}03

En'closed herein is a list of thenaines and addresses of all providers being sent a notice.

Enclosed are HIPAA compliant medical authorizations permitting THMS West
Tennessee MC, LLC to obtain complete medical records from each other provider being
sent a notice. ` '

Please forward this correspondence to the appropriate individuals at THMS West
Tennessee MC, LLC and to the professional liability insurance carrier and}or legal
counsel of THMS West Tennessee MC, LLC. 'Please ask a representative of the

_ professional liability insurance carrier insuring THMS 'West Tennessee MC, LLC for this
ciaim, and/or legal counsel, to contact ine. ` ‘

Thank you.

S_incerely,

 

Email: bmartin@cochranfinn.com

BFM/Ws-

Enclosures

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1

LIST OF NAN[ES AND ADDRESSES OF ALL PROVI])ERS
BEING SENT A- NOTI_CE PURSUANT TO T.' C. A. § 29-26-121§:1[

R.E: .lessie Mae Snovv, Deceased

 

The below is a list of health care providers to whom notice is being given, pursuant to 'I` CA
§ 29- 26 ~,l2l(a) ofa potential claim for medical malpractice:

l. Baptist Memorial Hospital - Collierville
1500 West Poplar '
_Co_llierville, Tennessee 38017 _

2. Tirnothy L. Kemp, M. D.
1 South Emergency Associates/Baptist Collierville Hospital 1
1500 West Poplar
Collierville, Tennessee 38017 7

3. TI-IMS West Tennessee MC, LLC

r_ 1900 Winston Road, Suite 300
Knoxvilie, Tennessee 37919

` EXH|B{T

,2_.

 

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EJ‘M mitigation guests El ER information lilmse x-rays, MRls.
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l Il`| dc not sign this ferrr_i, my health care and r‘rte payment-fur my health care will nor be affected unless stated otherwise

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receiving the revocation Purther details may he found in the Notice.of:` Privacy Prsc'r.ices. ' '

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is this request for psychotherapy nbt'.e-S`F D ')’=S. tim fhi§'isth¢ only item you irony roqnest_.on this authorization-s 'Y tila r'nust submit
zimmer-authorization for other items belong l`§i_~l\lo. thcn' you may check rts-mony irons below as you need .

 

 

 

 

 

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l acknowledge and hereby consent to such. that drer'r:`tea,sed information may contain cteohol, drug robus:-, psychiatric HiV testing §=ll t-'
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-'i. ll‘ the requester or receiver is-not a health plan or health carc‘providor_. tito released information may no longer'bo protected by
federal privacy regulations and mn_v bc-re:liacios=`ci". _ ' - .

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Dert:r'rptt`tm ot' information to bc used or disclosed

 

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- 4. tf"thc 'rt:qut:st.t:r or receiver ita-not a health 'plsn or health care pm\_t'idor, tth rcioas`cr.i information may no longer itc promoted by

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` reecivingrhe revocation Further- details moy be found in tho-Noticeofl>rivacy Proetices.
¢t. lt the requester- or receiver is-not c health plan or haeirlt eure~provider. the released information may no longer be protected by
fedcret privacy negotiations and may be-rcdieciosecl. .
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~_ Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 55 of 65 Page|D 61

IN TI-IE CIRCUIT COURT OF TENNESSEE -
FDR THE THIRTIETH .]'UDICIAL DISTRICT AT MEMPHIS, SHELBY COUNTY

 

-ANTHONY SNO-W, Individual]y and as ‘
cht of Ki'n of JESSIE M. SNOW, Deceased,

 

 

' Piainiirr, _ ` Div. _
v. Docket No. CT-
'rrrvio_rHY L. i<:;sMP, M.D., THM-s WEST Jm»y emande

TENNESSBE MC, LLC, and BAPTIS'T
MEMORIAL HosPrrAL g coLLrserLLE,

 

Defendants.

 

cERTchTE o`F Goon FAITH ;-
Medical Maipractice Case

PLAINTIFF’S FORM

A. In accordance with T.C.A. § 29-26-122, l hereby state the following: (Che;ck item 1
or 2 below and sign your name beneath the item you have checked, verifying-the information
you have checked Failure to check item 1 cr 2 and/or not signing item 1 or 2 Wili make this case

subject to dismissal With prejudice._)

ill 1. The PI-aintift` or P-iaintiff’s counsel has consulted with one (1) or more experts
who have provided_'a_ signed written statement confirming that upon information
and belief they:

(A) A.re competent under § 29-26-115 to express opinion(s) in the case; and

(B) Believe, based on the information available from the medical records
concerning the care and treatment of the Plaintiff for the incident(s) at issue? that
there is a good faith basis to maintain the action consistent with the requirements
of§ 29-26-_115_.

 

Sigriature cf Piaintiff if not represented or Sig_nature of
Pi_aintiff's Coun`sel
or

 

'_ Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 56 of 65 Page|D 62

iii 2. The Plaintiff or Plaintift‘s counsel has consulted with one (l) or more experts who
have provided a signed written statement confirming that upon information and
belief they:

(A)_ `Are competent under § 29»26~115 to express opinion(s} in the case; and

(B) Believe, based on the information available from the medical records
reviewed concerning the care and treatment of the Pl'aintiff for the 'incident(s) at
issue and, as appropriate, information nom the Plaintiff or others with knowledge
of the incident(s_) at issue, that there are facts material to the resolution of the case
that cannot be reasonably ascertained from the medical records or- information
reasonably available to the Plaintiff or Pl_aintiff‘s counsel; and that despite the
absence of this information there is a good faith basis for maintaining the action
as to each Defendant consistent With the requirements of § 29-.26~115.. Refusal cf
the Defendant to release the medical records in a timely fashion, or where it is
impossible for the Plaintif_f to obtain the medical records shall waive the
requirement that the expert review the medical records prior to expert
certification '

   

 

 

Signature'o 7 l£nansented, or Signature of
Plaintiff's unsel . .
B. You MUST complete the information below and sign:

Ihave been found in violation of T.C.A. § 29-26-122 /@/ prior times.` (Insert number of prior

 

 

violations by yon).
ME¢§; ' Li/:L;z»i!O
SignatureU erson curing '1_` Document Date

 

 

 

»_ -_ Case 2:10-ov-02363-STA-ogc Dooument 1-1 Filed 05/14/10 Page 57 of 65 Page|D 63

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MISSlSSIPPl-$TATE DERARTMENT OF HEALTH
VITAL REGUF|US

     
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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-_ Case 2:10-ov-02363-STA-ogc Dooument 1-1 Filed 05/14/10 Page 58 of 65 Page|D 64

._“‘__h `J~ » _ ‘) . l “"')
(CIRCU|T/CHANCERY| COUR_T QF TENNE_SSEE " `
140 ADAMS AVENUE, MEMPH|S, TE_NNESSEE 38103

FOR Tl-IE TH|RT|ETH JUD|C_|AL DlSTRlCTAT MEMPH!S

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

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Dock_et No. UMQ@(Q_?"( 0 7 l Q, Divo_rce . , _ Ad Damnum$ l ,
A'NTHON‘|' SNOW. |ndividually and as Next of Kln ofJE_SS|E M. _ T|MOTHY i_. KEMP, M_. D., T|-IMS WES ENNESSEE MC, LLC and
S_NOW, Dei:€ased, BAPTIST MEMORlAL HDSP|TAL - LLlERVlLLE,
VS
Pieintirrin v " cerenda_m(si
TO: (Name anc_l Address- of Defendant (One defendant per summonsl) . _ 'Met_hod of Service: '
THMS West Tennessee MC i_LC _ C" Certmed Mail'
c/o Corporation Service Cornpany C»Shelby County She__ril_‘f
2908 Poston Avenue ` »
Nashvmel TN 37203 y ‘ C. commissioner of insurance {$)
t_'_,`é$ecretary of S_tate l$l
Please serve upon registered agent for service of process. ` Ci Other TN County -Shel'iff ($l
(_7 Private_Process Ser_ver _
(`_`i Other
, ($) Attach Re'quir'ed Fee's
You are hereby summoned and required to defend a civil action yi filing your answer with the Clerk of the Court and
serving a copy of your answer to the Complaint on Bobby F rtln,-.,Jr Esq.,' The Cochran Firm- -Nlemphis Plalntiff`$
attorney. whose address is one commerce square 26th i=ie;{r ivie_mphis, TN ssi pa telephone +1 i_901) 217-7000

 

 
 

within TH!RTY (3{_]} DAYS after this summons has been serv d upon you,n not including th

    

 

 

 

 
  

To’ii-iEoEFEN-- "`

NOTECE; Pur`suant to Chapter 919 of the Pub|ic Act of1980_ you are hereby l "n the following notice:

Tennessee law provides a four thousand dollar ( ,000) personal property exemption from execution or seizure to satisfy a judgment |f a judgment
should be entered against you in this action an you wish to claim property as exempt you mustl` le a written iist, under oath of the items you wish
to claim as exempt with the Clerl< of the Cou' he list may be filed at any time an`d may be changed by you thereafter as necessary; however, unless
it is filed before thejudgmen_t becomes lina it will not`be effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law an do not need to be |istecl. These include items of necessary wearing apparel {clothing] for yourself and
your famiiyand trunks or other recepta s necessary to contain such apparel. family Pertra_its, the family Bi_b`le and school books. Shou|d any of
these items be seized, you would hair he right to recoverthem. if you do not'understand your exemption right or how to exercise it, you may wish
to seek the counsel of'a lawyer.

FOR AMER|CANS W|TH DlSABlLlTlES ACT (ADA] ASSlSTANCE ONLY. lC:ALL (90`1) 379~7895.

1, iiinMY inoan , clerk ofthe court
_Shel_by County, Tennessee. certify this to
be _a true and accurate copy as filed this

_J|MM‘{ MOORE 1 C|erk

By: D.C.

 

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-_ Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 59 of 65 Page|D 65

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l`}rm`} ` `V ' `_~§ c `, ._: ,.".» l `_ 1
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l HEREBY CERT|FY THAT l HAVE SERVED T-HE WlTHlN SUMMONS:

 

   

 

 

     

  

 

 

 

/' el ' f` ` ` _
By delivering on the 15 day of '/€J?/"'/ f/ . .20 /C) at //. 4§ /Hvl.acopy ofthe summons
and a copy ofthe Comp|alntto the following Defendant .' -.SY\/» 72 - F . ' . ' 012-7 ‘ `
arms most - ' ,,,. / . .- /' /. mo ¢ ,Is .. ,'
{)€C"l !' '1
By= rees ss . .£lze,,s-~?- ' -
Signature of person accepting service ~§laea:i£f-'or oth r author' ed person to serve process

 

 

 

 

RETURN OF NON-`SERV!CE OF SUMMO]_"~|S
l HEREBV CERT|FY THAT l HAVE NOT SERVED THE WlTH|N SUMN‘|ONS:

To the named Defend_ant

 

 

because is (arel not to be found in th'is-Co`unty after diligent search a nd inqui_iy`for the following
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This day of _. 20

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»`By: * `-' »' ~‘z'\",_ '
Sheriff or other authorized person to serve process

 

 

 

 

 

 

 

 

 

 

 

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~ Case 2:10-cv-02363-STA-Cgc Document 1-1 Filed 05/14/10 Page 60 of 65 Page|D 66

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lClRCUl`l_'/CHANC_ERY} CDUR_T 0F 'l_'E_N_N_l.-ISSEE " ”
140 ADAMS AVENUE, MEMPHlS, TENNES_SEE 38103 __ l __
FOR THE TH_|R'¥|ETH JUD|C|AL DlSTRl_C'l"_ A'l_° ME_M_PH|S_ ___ -; \`. - --

SUMMONS iN Cl\ll_l. AC_"I`I.ON

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Docket_ N o.

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' Please serve upon registered agent for service of process.

ANTHONY SNOW individually and as Nex_t_ _9_f K_i_n of JESSiE M. _, 7 .: _ ;___\_ - UMQTHY_ L KEly\P.__ M. D., THM_S WESITENNESSEENC l__LC» __and
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_:____ ._\ x .____._ z _-.`_ \\\___________‘_-t_ _____i" _ f/
P_laint_if_f.ls] ' '_ Defen`dant(s)
TO: [Narne and Address of_ Defendant (Or`i__e defendant per summons)) Method of Service:
Baptist Memorial l-losp|taL,Co||ierv|||e 15 , __ , . _.¢_ " chltif'ed Mai[_
c/o Mr. Greg Ducl<ett ` " , . ("\ Shelby County Sheriff
350 North Hum`phreys B|v'd. . _ '_" __ . .
Memphis_.m 38120_2177 _ ., : _;__, f__`. Comrnlssloner of insurance l$)
C_`,`)Secretary of State ($)

C Other TN -County'Sheriff ($)
@ Private Pro_cess _Server
C`-' Other

_ {$} Attach Required Fees
You are hereby summoned and required to defend a civil actio yf ling your answer with the C|erk of the Court and _
serving a copy of your answer to the Complaint on Bobby F. rtin,'Jr., Esq., The Cochran Firm- Memphis P|aiht'ff'$

attorneyr Wh°$€ address 15 One Commerce Square, 26th Flogé, Memphis, TN 38103 itel€ph°he +i (90'1) 217-7000
within THlRT\’ l30) DAYS after this summons has been serv upon you, not lncludc ' 1 ay of service. lf_you fail to-do so, a

judgment by default may be taken against you for the reli demanded in the Co

 

 

 

 

 

    
   
 
  
   
 
 

  
  
 
  

C|erk

 

.'o.c.

TO THE o eNoANT.

NOTICE; Pursuant to Chapter 919 of the Public Acts 1980, you are hereby given the following notice:

Tennessee law provides-a four thousand dollar ($4',` `0) personal property exemption from execution or seizure to satisfy ajudgment. lfa judgment
should be entered against you in this action and y u wish to claim property _as exempt, yo`u must file a written listl under oath. of the items you wish
to claim as exempt with the C|erk 'of the Court.`£ list may be filed-at any time and may be changed by you thereafter as necessary; however.- unless
lt ls filed before thejudgment becomes final, it ill not be effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and dc ot need to be llsted.The$e include items of necessary wearing apparel [clothin'g) for yourself and
your family and trunks o`r other receptacles ne essary to contain such apparel family portraits, the family Bib|e and school books. Should any of
these items be seized. you would have the rig tto recover them lf you do not understand your exemption right or how to exercise it you may wish

to seek the counsel of a lawyer.

FOR AMER|

lr .llMMY MOORE , Cl_erk of _the _Cour.t.
Shelby County, Tennessee, certify this to
be a true and accurate copy as died this

NS WlTH D|SAB|L!T|ES AC|' (ADA) ASS|STANCE ONLY,\ CAl__L (901) 379-7895

JrMMY Moone _<;;Erk

B_y: D.C.

 

 

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_ RETuaN oF senvice oF suMMQN§ ' '
l HEREBY CERTlFY THA AVE SERVED THE_W|THIN _SUMMONS:
By delivering on thea 5 F°/.’ day of d/.D A ref " 4 .ZOZ Q". at g 4 l.5"2 !° M. a copy of the summons
and a copy of the Compiaint to the following Def_endant MMWZ¢MLM@L$LAM

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M.Shmllau¢lr`dl '

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By:

 

 

Shesiff-or other authorized _ rs'on to serve process

Signature of person accepting service

 

 

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4'),,4_ "~-....--" \"\'¥' MY COMMISSION EXP|RFS;
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RE.`l'-URN OFNON-SERVICE OF SUMMONS_.
| HEREBY CE-RTIFY THAT l HAVE NOT SERVED THE WITHlN SUMMONS:
To the named Defendant 4
because ls (are] not to be found in this County after diligent search and inquiry for the following
reaso_n(s):
This dayof "-' .?.0 4

Bw ' ' ‘ , ,
S'heriff or other authorized person to serve process

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2: 10- c-\/- 02363- S`l'A- -cgc Document 1- 1 Fl|ed 06/14/10 Page 62 of 66 Pag

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ANTHONY SNOW |ndl'\tidl._.lally an_d as Next»ofl(il'l ofJESS|E M. - n `.__ \.-' 5 TIMO]'HY L. KEMP, M. D., THMS WEST `_|'Ei§lNESSEE_ MC L_I_Csand
SNOW Dec'ea$éd," ¥ "' ’ "‘ "- . """ ' ‘J BAP'FISTM€MORPAL HOSP]TA`L\-COLL|ERVILL'E " ’
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P|alntiff(s] .'\1 ‘ l `_‘\ ," Defendant(s)
_.‘_H\.\, ‘;__v_'__-__`;_' _~.‘. a'.xl:;' . -: .`_ ,~ ‘ - .

TO: (Name and Address of Defendant {One defendant per summons)) v n _ Nlethod of Service:
Timothyl_. Kemp,M D. "' ` j eTtl_ e “
c/o'Ba'pt_ist Coilie`r-vlll'e l-lospit>a| ("- Sh`ei5y County She`riff
1500 West Pop|ar '
colliervrlie,rw 38017 C` C°mmlss'°ner of |nsurance m

GSecr`eta_ry of'State l$)

C_`:-Other TN County Sheriff ($)
~ ® Private Proces`s Server

C,` Other

 

 

 

 

 

 

n l$] Atta_ch Required Fees

You are hereby summoned and required to defend a civil action b`y` ling your answer with the C|erk of the Court and
serving a copy of your answer to the C_omp[aint on Bo_bby F. Ma_ ,.,Jr E`sq. The Cochran Firm- Me_rnphi_s maintin

attorney, WhO$E addres$ 15 One Cornr`rierce Square, 26th Floor}d`emphis, TN 38103 +l (901] 217-7000
within TH|RTY (30] DAYS after thls summons has been served pon you, not includin-

 

    
 
  
 
  
  
  
   

 

 

NOTICE; Pursuant to Chapter 919 of the Pub[ic A ~
Tennessee law provides a four thousand dollar _4 ODO} personal property exemption from execution or seizure to satisfy a judgment if a judgment
should be entered against you in this action a you wish to claim property as exempt you must f' lea written list under oath of the items you wish
to ciairn as exempt.with the C|erk of the Cou .The list may be filed at any time and may be changed by you thereafter as necessary; however, unless
it is filed before the judgment becomes fin , it will not be`effective as to any execution or garnishment issued pr|or to the fiiing ofthe |lst. Certain
items are automatically exempt by law an do not need to be |isted. These include items of necessary wearing apparel [clothing) for yourselfand
your family and trunks or other receptac s necessary to contain such apparel. family portraits, the family Bible and school books Shou|d any of
these items be selzed, you would have e right to recover them if you do not understand your exemption right or how to exercise it, you may wish
to'seek the counsel of'a lawyer.

FOR MER|CANS W|TH DlSABlLlT|E$ A_Cl' [ADA) AS_SI_STANCE ONLY'r CALL {901) 379-7395
l, JIMMY N|OORE _, Clerk of th Court,

  

She|by County, Tennessee, cert' this to
_bea true a'nd accurate copy a lied this
JlMMY MOORE l C|erk

By: o.c.

 

€|D 66

 

_ ~ Case 2. 10- -c\/- O2363- STA- -cgc Document 1 1 Filed 05/14/10 Page_ 63 of 65 Page|D 69

 

    

 

 

 

 

 

.,.¢,..…»._s.._`, -- "…_._.-~- _°”
` ' RETUBN o'F sEercE oF ngMo'Ns
SERVED ~
_ lHEREBY CERT|FY THAT| H_AVE SERVED THE W|TH|N. S_L_JMMONS:
By delivering on the %_____'day of@£z/ l . 20 at |V|. a copy of the §urnmons

   

 

' '/r'€%a

 

and a copy of the Cornplaint to the following Defendant

 

 

 

 

Signature of person accepting service

 

 

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RETURN OF NON-SERV|CE OF SUMMONS
l HEREBY CERT|FY THAT| HAVE NOT SERVED THE W|TH|N SUMMONS:

To the named Defendant

 

 

 

 

 

 

 

 

 

 

because is (are) not to be found ln this County after diligent search an_cl inquiry for the following
reason(s): _\
This dayof ,20 j
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- Case 2:10-cv-02363-STA-cgc Document 1-1 Filed 05/14/10 Page 64 of 65 Page|D 70
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son THE THIRTIETH wi:)ICIAL vistch Ar MEMPHIS, sHE-LBY _ § E

ANTHONY SNOW, Individualiy and as
Next ofKin of JESSIE_ M. SNGW, Deeeased,

Plaintiff, . Div, FU:
"‘ Doc'ker N_o_. CT-MQI~'_®

T]l\/IOTHY L. KEMP, M.D.,_THMS WEST _ v Jury Demanded
TENNESSEE MC, LLC, and BAPTIS'I`
MEMORIAL HOSPITAL _ COLL]_ERVILLE,

 

   
 
     

 

 

 

D'efendant`s.

 

CERTIFICATE- OF GOOD FAIT'H
Medi'cal .Malpractice Case

PLAINTIFF"S FORM

A. In accordance With T,C.A. § 29-26-122, I hereby state the following: (Check item l

or 2 below and sign your name beneath the item you have checked, verifying the information
you have checked Faiiure to check item _1 or 2 andlor not signing item 1 or 2 Will make this case
subject to dismissal With prejudiee.) -

_II| l. The Plaintiff or'PiaintiiFs counsel has consulted with one (1) or more experts
who have provided`a signed written statement confirming that upon information

and belief they:
(A) Are competent under § 29-26-115 to express opinion(s) in the case; and

(B) Believe, based on the information available from the medical records
concerning the care and treatment of the Plaintiff for the incident(s) at issue, that
there is a good faith basis to. maintain the action consistent with the requirements

of§ 29.-26-115.

 

Signature of Plaintiff if not represented _or Signature of
Piaintift‘s Coun'sel
or

___I.m_

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g 2. The Plaintiff or Plaintiff‘s counsel has consulted with one (l) or more experts Who
have provided a signed written statement confirming that upon information and
belief they:

(A) Are competent under § 29-26-115 to express opinion(s) in the case; and

(B) Be`lieve, based on the information available from the medical records
reviewed concerning the care and`treatrnent of the Plaintiff for the incident(s) at
issue and, as appropriate, information from the Plaintiff or others with knowledge
of the incident(s) at issue, that there are facts material to the resolution of the case
that cannot be reasonably ascertained from the medical records or information
reasonably available to the Plaintiff or Plaintiffs counsel; and that despite the
absence of this information there is a good faith basis for maintaining the action
as to each De_fendant consistent with the requirements of § 29~26-1151. Rei"usal of
the Defend_ant to release the medical records in a timely fashion, or where it is
impossible for the`Plaintiff to obtain the medical records shall waive the
requirement that the expert review the medical records prior to expert
certification

   

 

 

esented, or `Signature of

 
 

Plaintiff's- ounsel
B. You MUST complete the information below and sign:

lhave been found in violation ofT.C.A. § 29-26-122_ /6/ prior times. (insert number of prior
violations by you).

  
 

_H/:),:.llo

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